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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. _______________


 EL NOVILLO RESTAURANT d/b/a
 DJJ RESTAURANT CORP. and
 EL NOVILLO RESTAURANT d/b/a
 TRIAD RESTAURANT CORP.,
 on behalf of themselves and all
 others similarly situated,

        Plaintiffs,
                                                                    CLASS ACTION
 v.
                                                                    JURY DEMAND
 CERTAIN UNDERWRITERS AT LLOYD’S
 LONDON, and UNDERWRITERS AT
 LLOYD’S LONDON KNOWN
 AS SYNDICATE XLC 2003, AFB 2623,
 AFB 263, BRT 2987, BRT2988, WRB 1967,
 and MSP 318,

       Defendants.
 _________________________________________/

                                CLASS ACTION COMPLAINT

        Plaintiffs, El Novillo Restaurant, d/b/a DJJ Restaurant Corporation and El Novillo

 Restaurant d/b/a Triad Restaurant Corporation, on behalf of themselves and all others similarly

 situated, bring this action against Certain Underwriters at Lloyd’s London and Underwriters at

 Lloyd’s London known as Syndicate XLC 2003, AFB 2623, AFB 263, BRT 2987, BRT2988 ,

 WRB 1967and MSP 318 (“Underwriter Defendants”) for a declaratory judgment of rights and

 obligations under contracts of insurance and over Underwriter Defendants’ anticipated breach of

 insurance policies from the denial of business interruption and extra expense coverage, and

 additional coverages, for Plaintiffs and similarly situated all-risk commercial property insurance

 policyholders who have suffered enormous business income losses and related covered expenses
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 resulting from civil authority orders putting in place measures to stop the spread of the deadly

 COVID-19 outbreak, and state:

                                    I.     INTRODUCTION

        1.        On March 11, 2020 World Health Organization Director General Tedros Adhanom

 Ghebreyesus declared the COVID-19 outbreak a worldwide pandemic: “WHO has been assessing

 this outbreak around the clock and we are deeply concerned both by the alarming levels of spread

 and severity, and by the alarming levels of inaction. We have therefore made the assessment that

 COVID-19 can be characterized as a pandemic.”1

        2.        On March 16, 2020, President Donald J. Trump, the Centers for Disease Control

 and Prevention, and members of the national Coronavirus Task Force issued to the American

 public guidance, styled as “30 Days to Slow the Spread” for stopping the spread of COVID-19.

 This guidance advised individuals to adopt far-reaching social distancing measures, such as

 working from home, avoiding shopping trips and gatherings of more than 10 people, and staying

 away from bars, restaurants, and food courts.2

        3.        Following this advice for individuals to adopt far-reaching social distancing

 measures, many state government administrations across the nation recognized the need to take

 measures to protect the health and safety of their residents from the person to person and surface

 to person spread of COVID-19. As a result, many governmental entities entered civil authority

 orders suspending, or severely curtailing business operations of non-essential businesses that

 interact with the public and provide gathering places for the individuals. Currently, almost all



 1
   See https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-
 media-briefing-on-COVID-19---11-march-2020
 2
       See     https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-
 guidance_8.5x11_315PM.pdf

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 states within the United States have issued some sort of “stay-at-home” order and ordered private

 non-essential business operations to close.

        4.        The result of these far-reaching restrictions and prohibitions has been catastrophic

 for most non-essential businesses, especially restaurants and other food service businesses, as well

 as retail establishments, entertainment venues, and other small, medium, and large businesses who

 have been forced to close, furlough employees, and endure a sudden shutdown of cash flow that

 threatens their very survival.

        5.        Most businesses insure against such catastrophic events like the current unforeseen

 COVID-19 pandemic through all-risk commercial property insurance policies. These policies

 promise to indemnify the policyholder for actual business losses incurred when business

 operations are involuntarily suspended, interrupted, curtailed, when access to the premises is

 prohibited because of direct physical loss or damage to the property or by a civil authority order

 that restricts or prohibits access to the property. This coverage is commonly known as “business

 interruption coverage” and is standard in most all-risk commercial property insurance policies.

        6.        The Underwriter Defendants, and most insurance companies who have issued all-

 risk commercial property insurance policies with business interruption coverage, are denying the

 obligation to pay for business income losses and other covered expenses incurred by policyholders

 for the physical loss and damage to the insured property from measures put in place by the civil

 authorities to stop the spread of COVID-19 among the population. This action seeks a declaratory

 judgment that affirms that the COVID-19 pandemic and the corresponding response by civil

 authorities to stop the spread of the outbreak triggers coverage, has caused physical property loss

 and damage to the insured property, provides coverage for future civil authority orders that result




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 in future suspensions or curtailments of business operations, and finds that the Underwriter

 Defendants are liable for the losses suffered by policyholders.

        7.        In addition, this action brings a claim against the Underwriter Defendants for their

 anticipatory breach of their contractual obligation under common all-risk commercial property

 insurance policies to indemnify Plaintiffs and others similarly situated for business losses and extra

 expenses, and other related losses resulting from actions taken by civil authorities to stop the

 human to human and surface to human spread of the COVID-19 outbreak.

        8.        Plaintiffs bring this action on behalf of a proposed class of policyholders who paid

 premiums in exchange for an all-risk commercial property insurance policy that included lost

 business income and extra expense coverage.

                               II.     JURISDICTION AND VENUE

        9.        This is an action asserting class action claims for declaratory relief and damages

 from the anticipatory breach of insurance policies issued by Underwriter Defendants.

        10.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 2201 and 2202

 and is authorized to grant declaratory judgment under these statutes and pursuant to Federal Rule

 of Civil Procedure 57.

        11.       This Court also has jurisdiction over this action pursuant to the Class Action

 Fairness Act of 2005 (“CAFA”) (codified in 28 U.S.C. §§ 1332, 1453, 1711–1715). Diversity

 exists among the Plaintiffs and Defendants, there are more than one hundred members of the

 putative Class, and the amount in controversy exceeds $5 million. 28 U.S.C. § 1332(d)(2). In

 determining whether the $5 million amount in controversy requirement of 28 U.S.C. § 1332(d)(2)

 is met, the claims of the putative Class members are aggregated. 28 U.S.C. § 1332(d)(6).




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        12.       This Court also has supplemental jurisdiction over the state law claims pursuant to

 28 U.S.C. § 1367(a) because all claims alleged herein form part of the same case or controversy.

        13.       Venue is proper in this forum pursuant to 28 U.S.C. § 1391 because a substantial

 part of the events giving rise to Plaintiffs’ claims occurred here, and Underwriter Defendants

 transact business, engaged in misconduct, or may be found in this District.

        14.       All conditions precedent to this action have occurred, been performed, or have been

 waived.

                                        III.    THE PARTIES

        15.       Plaintiff, El Novillo Restaurant, d/b/a DJJ Restaurant Corp, is a Florida corporation

 authorized to do business and doing business at 15450 New Barn Road, Miami-Dade County,

 Hialeah, Florida. DJJ owns, operates, manages and controls the restaurant El Novillo.

        16.       Plaintiffs, El Novillo Restaurant, d/b/a Triad Restaurant Corp., is Florida

 corporation authorized to do business and doing business at 6830 Bird Road, Miami-Dade County,

 Miami, Florida. Triad Restaurant Cop. owns, operates, manages and controls the restaurant El

 Novillo.

        17.       Plaintiffs have provided notice to the Underwriter Defendants of their business

 income and other expense losses under the policy provisions.

        18.       On or about July 1, 2019, Defendant Underwriters issued all-risk commercial

 property insurance policy no. 773TA10063 to DJJ Restaurant Corp. and policy no. 773TA10064

 to Triad Restaurant Corp. See Exhibits A and B.

        19.       Defendant Underwriters at Lloyd’s London is composed of syndicates of individual

 underwriters that share respective and several liability under an insurance policy.




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        20.       Upon information and belief the liabilities under insurance policy nos.

 773TA10063 and 773TA10064 are shared among a syndicate of seven underwriters identified only

 by a pseudonym and respective allocation of liability: XLC 2003 (50%), AFB 2623 (12.3%), AFB

 623 (2.7%), BRT 2987 (13.5%), BRT 2988 (1.5%), WRB 1967 (10%), and (MSP 318 (10%).

                                IV.     FACTUAL ALLEGATIONS

    A. The Global COVID-19 Pandemic

        21.       Coronaviruses are a type of virus that often cause respiratory diseases in humans.

 In the fall of 2019, a new mutation of coronavirus was detected in China and thought to have

 originated in a “wet market” in Wuhan, China that sells exotic animals for food consumption.

        22.       The new virus variation has biological similarities to a coronavirus known as

 Severe Acute Respiratory Syndrome, and more commonly referred to by the acronym SARS. The

 World Health Organization has named the new virus SARS-CoV-2, and it has more commonly

 become known as COVID-19, short for Coronavirus Disease-2019.

        23.       Within months of COVID-19 being identified and named, the virus quickly spread

 from China to other parts of the world, including the United States. On March 11, 2020, World

 Health Organization Director General Tedros Adhanom Ghebreyesus declared the COVID-19

 outbreak a worldwide epidemic of a virus for which humans have no natural immunity. In other

 words, a pandemic.

        24.       Vaccines are prophylactic treatments that protect against particular viruses. Unlike

 influenza, there is no vaccine or other preventive substance to stimulate the production of

 antibodies in humans to provide immunity against COVID-19. To date, it has been reported that

 almost 95,000 people have died worldwide. In the United States alone, over 16,000 have died,and




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 over 450,000 people are confirmed infected with the virus.3 These numbers are expected to grow

 exponentially and have taxed the United States’ health care delivery system to near collapse with

 an overflow of critically ill patients and a scarcity of ventilators for patients and personal protective

 equipment for health care providers.

           25.       Without a vaccine to protect against COVID-19, effective control of the outbreak

 relies on measures designed to reduce human to human and surface to human exposure. Recent

 information on the CDC’s website provides that COVID-19 spreads when people are within 6-feet

 of each other or when a person comes in contact with a surface or object that has the virus on it.4

 Various other sources state that close contact with a person with the virus or surfaces where the

 virus is found, can transmit the virus.5

           26.       The secondary exposure of surface to humans is particularly acute in places the

 public normally gathers to socialize, eat, drink, shop, be entertained, and go for recreation. This

 is why the CDC recommends that, in viral outbreaks individuals who are infected stay at home

 and those who are not sick engage in preventative measures such as constant hand washing and

 avoiding activities that would bring them into close proximity of people with the virus or surfaces

 where the virus may reside. However, because these recommendations have proven ineffective to




 3
     See https://www.worldometers.info/coronavirus/ (last visited April 9, 2020).
 4
        See            https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-COVID-
 spreads.html
 5
   See Persistence of coronaviruses on inanimate surfaces and their inactivation with biocidal
 agents, Vol. 104, Kemp., G., et al., Journal of Hospital Infection, No. 3, March 2020, pages 246-
 251 (remains infectious from 2 hours to 28 days depending on conditions); see also
 https://www.ucsf.edu/news/2020/02/416671/how-new-coronavirus-spreads-and-progresses-and-
 why-one-test-may-not-be-enough (doorknobs and table tops can contain the virus);
 https://www.nytimes.com/2020/03/02/health/coronavirus-how-it-spreads.html (virus can remain
 on metal, glass and plastic for several days).

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 minimize the spread of COVID-19, containment efforts have resulted in civil authorities issuing

 orders closing non-essential business establishments, including restaurants, bars, hotels, theaters,

 personal care salons, gyms, and schools, and mandating social distancing among the population.

 This has caused the cancelation of sporting events, parades, and concerts, the closure of amusement

 parks, and substantial travel restrictions. In addition, to conserve medical supplies, orders have

 been issued prohibiting the performance of non-urgent or non-emergency elective procedures and

 surgeries forcing the suspension of operations at many medical, surgical, therapeutic, and dental

 practices.

        27.       Every state in the nation has declared a state of emergency due to the existence of

 COVID-19 with many states and local governments issuing restrictive emergency orders. For

 instance, in Florida, Governor DeSantis has issued a series of Executive Orders closing restaurants

 (other than for deliveries), bars, taverns, pubs, night clubs, banquets hall, cocktail lounges,

 cafeterias, movie theaters, concert houses, auditoriums, playhouse, bowling alleys, arcades,

 gymnasiums, and fitness studios. On March 25, 2020, Miami-Dade County Mayor Carlos

 Gimenez issued an emergency order restricting hotels, motels and lodging facilities from accepting

 any occupants.

    B. The Underwriter Defendants’ Standard Uniform All-Risk Commercial Property
       Insurance Policies

        28.       Underwriter Defendants’ insurance policies issued to Plaintiffs and the Class

 members are “all risk” commercial property polices which cover loss or damage to the covered

 premises resulting from all risks other than those expressly excluded.

        29.       The Underwriter Defendants use standard, uniform insurance policies issued by the

 Insurance Services Office (ISO), an insurance advisory organization that provides statistical and




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 actuarial information to businesses and provides ISO commercial property forms for commercial

 property insurance policies.

        30.       These commercial property forms include a standard policy form titled “Business

 Income (and Extra Expense) Coverage Form.” This form is identified by the ISO under a common

 form numbers “CP 0010” and “CP 00 30.”

        31.       Under the “Coverage – Business Income” provision of the CP 00 30 insurance

 policy at issue in this case, business income is defined as:

                  (1) Net income (Net Profit or Loss before income taxes) that would
                  have been earned or incurred; and (2) Continuing normal operating
                  expenses incurred, including payroll.

        32.       The standard provision further states that the Underwriter

 Defendants will:


                  [P]ay for the actual loss of Business Income you sustain due to the
                  necessary suspension of your “operations” during the “period of
                  restoration.” The “suspension” must be caused by direct physical
                  loss of or damage to property at premises which are described in the
                  Declarations and for which a Business Income Limit of Insurance is
                  shown in the Declarations.

        33.       The provision for “Additional Coverages-Civil Authority” provides that the

 Underwriter Defendants will:

                  [P]ay for the actual loss of Business Income you sustain, and
                  necessary Extra Expense caused by the action of civil authority that
                  prohibits access to the described premises…

        34.       Plaintiffs and all similarly situated Class members have suffered a direct physical

 loss of and damage to their property due to the suspension of their operations from the global

 COVID-19 pandemic and the civil authorities’ measures to stop the human to human and surface

 to human transmission of COVID-19.



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     C. Plaintiffs’ Factual Allegations

         35.       On July 1, 2019, the Underwriter Defendants issued a standard ISO all-risk

  commercial property insurance policy to each Plaintiff under which Plaintiffs agreed to make

  premium payments in exchange for the Underwriter Defendants’ promise to indemnify the

  Plaintiffs for losses including but not limited to business income losses at the insured properties.

         36.       The insured properties are defined in the policies but are generally described as two

  restaurants located in South Florida: El Novillo restaurant located at 15450 New Barn Road,

  Hialeah, Florida; and El Novillo restaurant located at 6830 Bird Road, Miami, Florida. The

  policies, like all Class members’ policies, are all-risk common policies that provide covered causes

  of loss for physical loss and physical damage unless expressly excluded.

         37.       Both policies provide coverage between the periods of July 1, 2019, and July 1,

  2020, and are in full effect as Plaintiffs have faithfully paid the premiums due which Underwriter

  Defendants have accepted.

         38.       Plaintiffs have paid the policy premiums to the Underwriter Defendants specifically

  to provide coverages for coverage of lost business income and extra expenses in the event of an

  involuntary business interruption.

         39.       On March 16, 2020, Miami-Dade County Mayor Carlos Gimenez issued

  Emergency Order 02-20 restricting operating times for all restaurants within Miami-Dade County

  to 6 am to 11 pm other than for delivery.

         40.       On March 17, 2020, Governor Ron DeSantis issued Executive Order 20-68 further

  restricting restaurant operations in the State of Florida. On the same day, Miami-Dade County

  Mayor Carlos Gimenez issued Emergency Order 03-20 closing all restaurants in Miami-Dade

  County other than for delivery. These closings remain in effect.



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         41.       Other similar orders have been issued that close or restrict all non-essential business

  operations or prohibit public access to the property of non-essential businesses.

         42.       The civil authority orders expressly state that the closing of non-essential

  businesses are necessary measures to protect the health and safety of all residents by stopping the

  spread of the virus through human to human and surface to human contact.

         43.       As a direct result of the governmental orders and the COVID-19 pandemic,

  Plaintiffs have been forced to close their premises, suspend business operations, and furlough

  employees.

         44.       Plaintiffs each have faithfully paid the premiums and the Underwriter Defendants

  have each accepted payment and as such are obligated to honor their contractual duty to provide

  coverage for the business losses and extra expenses and other expenses suffered.

         45.       Upon information and belief, the Underwriter Defendants have received and taken

  the policy premiums but have no intention of providing any coverage under the policies due to any

  business income losses or expenses incurred by policyholders related to the COVID-19 pandemic.

     D. The COVID-19 Pandemic has Affected Policyholders Nationwide.

         46.       COVID-19 is physically impacting private commercial property in Miami-Dade

  County, the State of Florida and throughout the United States, and threatening the very survival of

  thousands of restaurants, retail establishments and other businesses that have had their business

  operations suspended or curtailed by order of civil authorities.

         47.       All but six states have enacted “stay-at-home” orders, thirty-five states have closed

  all non-essential businesses with other states enacting measures to curtail business operations, all




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  fifty states have closed schools, and all but one state has closed restaurants and bars for services

  other than take-out and delivery.6

            48.       Upon information and belief, Underwriter Defendants have received and taken the

  policy premiums from all class policyholders but have no intention of providing any coverage or

  indemnification under the policies if the business income losses and expenses are related to the

  COVID-19 pandemic.

            49.       For example, a bipartisan group from the U.S. House of Representatives recently

  sent a letter to various insurance industry trade groups requesting that their members recognize

  financial losses relating to COVID-19 under the standard commercial interruption coverage. In

  response, the industry trade groups stated: “Business interruption policies do not, and were not

  designed to, provide coverage against communicable diseases such as COVID-19.”7 Upon

  information and belief, the Underwriter Defendants belong and support the trade groups’ position.

            50.       In addition, many state departments of insurance have issued advisories to business

  owners that COVID-19 is not an insured peril and there will be no coverage for business

  interruption. This is disinformation being published to discourage business owners from filing

  claims.

            51.       For instance, Arkansas Insurance Department Bulletin No. 9-2020 states that “In

  most BII policies, coverage is triggered when the policyholder sustains physical damage to insured

  property caused by a covered peril resulting in quantifiable business interruption loss . . .viruses




  6
      See    https://www.kff.org/health-costs/issue-brief/state-data-and-policy-actions-to-address-
  coronavirus/.

  7
      See https://www.insurancejournal.com/news/national/2020/03/20/561810.htm


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  and disease are typically NOT an insured peril unless added by endorsement. (emphasis in the

  original).8

            52.       The South Carolina Department of Insurance issues “Guidance” on business

  interruption insurance stating that under the business income policy, there likely is no coverage

  from losses occurring as a result of a virus.9

            53.       The insurance industry also has been actively advising Insurance Commissioners

  that they do not intend to provide coverage for business interruption related to COVID-19. As a

  result, many small businesses that maintain commercial multi-peril insurance policies with

  business interruption coverage will have large uninsured losses because the insurance industry is

  stating that such policies do not cover COVID-19.

            54.       For instance, the State of Connecticut Insurance Department, Maryland Insurance

  Administration and the West Virginia Office of the Insurance Commissioner issued nearly

  identical notices supporting the insurance companies’ reasons for denying business interruption

  claims stating that the potential loss costs from such perils [like COVID-19] are so extreme that

  providing coverage would jeopardize the financial solvency of property insurers.10

            55.       John F. King, Insurance and Safety Fire Commission for the State of Georgia issued

  Bulletin 20-EX-3 stating that losses from COVID-19 are excluded losses.11 Vicki Schmidt, Kansas


  8
      See https://insurance.arkansas.gov/uploads/resource/documents/9-2020.pdf
  9
       See https://www.doi.sc.gov/948/COVID-19.
  10
    See https://portal.ct.gov/CID/Coronavirus/Business-Interruption-Insurance-Notice;
  https://insurance.maryland.gov/Pages/newscenter/NewsDetails.aspx?NR=2020256;
  https://www.wvinsurance.gov/Portals/0/pdf/pressrelease/20-
  08%20Business%20Interruption%20Insurance.pdf?ver=2020-03-26-222830-620.

  11
       See https://www.oci.ga.gov/ExternalResources/Announcements/Bulletin-3172020-1619.pdf.



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  Insurance Department Commission issued a similar Bulletin stating it was her “understanding it is

  unlikely that a business policy would cover losses related to COVID-19.”12

            56.       Other state governments anticipate that insurance companies will breach their

  obligation to provide coverage for business losses due to the COVID-19 pandemic and have

  introduced bills requiring every insurance policy insuring against loss or damage to property,

  which includes the loss of use and occupancy and business interruption, be construed to include,

  among other covered perils, coverage for business interruption due to global virus transmission or

  pandemic.13

            57.       A declaratory judgment determining that the business income loss and extra

  expense coverage provided in common all-risk commercial property insurance policies applies to

  the suspension, curtailment, and interruption of business operations resulting from measures put

  into place by civil authorities is necessary to prevent the Plaintiffs and similarly situated Class

  members from being denied critical coverage for which they have paid.

                                 V.     CLASS ACTION ALLEGATIONS

            58.       Plaintiffs bring this lawsuit pursuant to Rule 23 of the Federal Rules of Civil

  Procedure on behalf of themselves and all other persons similarly situated Procedure 23(a) and

  (b)(3).

            59.       The Nationwide Class is defined as:

                      All entities who have entered into standard all-risk commercial property
                      insurance policies with the Underwriter Defendants, where such policies
                      provide for business income loss and extra expense coverage and do not
                      exclude coverage for pandemics, and who have suffered losses due to
                      measures put in place by civil authorities to stop the spread of COVID-19.

  12
       See https://insurance.ks.gov/documents/department/COVID19-FAQ.pdf.
  13
    See House Bill No. 858, State of Louisiana House of Representatives. Similar legislation has
  been introduced in Massachusetts (Senate Bill Senate Docket. 2888); New Jersey (Assembly No.
  3844); Sate of New York (Assembly 10226); and Ohio (House Bill No. 589).

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          60.       Excluded from each class are the Underwriter Defendants, their employees,

  officers, directors, legal representatives, heirs, successors, and wholly or partly owned subsidiaries

  or affiliated companies; Class Counsel and their employees; and the judicial officers and their

  immediate family members and associated court staff assigned to this case.

          61.       Plaintiffs reserve the right to modify, expand, or amend the definitions of the

  proposed classes following the discovery period and before the Court determines whether class

  certification is appropriate.

          62.       Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

  Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

  would be used to prove those elements in individual actions alleging the same claims.

  Numerosity

          63.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). The Class

  numbers at least in the thousands and consists of geographically dispersed business entities who

  are insured for business interruption losses. The Underwriter Defendants sell a large number of

  insurance policies in the state of Florida and in most if not all other 49 states and therefore joinder

  of the Class members is impracticable.

          64.       The identity of Class members is ascertainable, as the names and addresses of all

  Class members can be identified in the Underwriter Defendants’ or their agent’s books and records.

  Plaintiffs anticipate providing appropriate notice to the certified Class in compliance with Fed. R.

  Civ. P. 23(c)(2)(A) and/or (B), to be approved by the Court after class certification, or pursuant to

  court order under Fed. R. Civ. P. 23(d).




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  Typicality

          65.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because Plaintiffs’

  claims are typical of the claims of each of the Class members, as all Class members were and are

  similarly affected and their claims arise from the same all-risk commercial property insurance

  policy provisions entered into with the Underwriter Defendants. Each Class member’s insurance

  policy contains the same ISO-issued form providing coverage for business income loss. None of

  the forms exclude coverage due to a global pandemic. As such, a declaratory judgment as to the

  rights and obligations under Plaintiffs’ policies will address the rights and obligations of all Class

  members.

  Adequacy of Representation

          66.       Plaintiffs are committed to prosecuting the action, will fairly and adequately protect

  the interests of the members of the Class, and have retained counsel competent and experienced in

  class action litigation, including litigation relating to insurance policies. Plaintiffs have no interests

  antagonistic to or in conflict with other members of the Class. Plaintiffs anticipate no difficulty in

  the management of this litigation as a class action.

  Commonality

          67.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) because there are

  questions of law and fact that are common to each of the classes. These common questions

  predominate over any questions affecting only individual Class members. The questions of law

  and fact common to the Class include, but are not limited to:

                    a. Whether there is an actual controversy between Plaintiffs and Underwriter
                       Defendants as to the rights, duties, responsibilities and obligations of the parties
                       under the business interruption coverage provisions contained in standard all-
                       risk commercial property insurance policies;




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                   b. Whether the COVID-19 pandemic is excluded from Plaintiffs and the Class
                      members standard all-risk commercial property insurance policies;

                   c. Whether the measures put in place by civil authorities to stop the spread of
                      COVID-19 caused physical loss or damage to covered commercial property;

                   d. Whether the Underwriter Defendants have repudiated and anticipatorily
                      breached the all-risk commercial property insurance policies the issued with
                      business interruption coverage by intending to deny claims for coverage; and

                   e. Whether Plaintiffs and the Class members suffered damages as a result of the
                      anticipatory breach by the Underwriter Defendants.

  Superiority/Predominance

         68.       This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3). A class action is

  superior to other available methods for the fair and efficient adjudication of the rights of the Class

  members. The joinder of individual Class members is impracticable because of the vast number

  of Class members who have entered into the standard all-risk commercial property insurance

  policies with the Underwriter Defendants.

         69.       Because a declaratory judgment as to the rights and obligations under the uniform

  all-risk commercial property insurance policies will apply to all Class members, most or all Class

  Members would have no rational economic interest in individually controlling the prosecution of

  specific actions. The burden imposed on the judicial system by individual litigation, and to the

  Underwriter Defendants, by even a small fraction of the Class members, would be enormous.

         70.       In comparison to piecemeal litigation, class action litigation presents far fewer

  management difficulties, far better conserves the resources of both the judiciary and the parties,

  and far more effectively protects the rights of each Class member. The benefits to the legitimate

  interests of the parties, the court, and the public resulting from class action litigation substantially

  outweigh the expenses, burdens, inconsistencies, economic infeasibility, and inefficiencies of

  individualized litigation. Class adjudication is simply superior to other alternatives under Fed. R.


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  Civ. P. 23(b)(3)(D). Class treatment will also avoid the substantial risk of inconsistent factual and

  legal determinations on the many issues in this lawsuit.

            71.       Plaintiffs are unaware of any obstacles likely to be encountered in the management

  of this action that would preclude its maintenance as a class action. Rule 23 provides the Court

  with the authority and flexibility to maximize the efficiencies and benefits of the class mechanism

  and reduce management challenges. The Court may, on motion of Plaintiffs or on its own

  determination, certify nationwide and statewide classes for claims sharing common legal

  questions; utilize the provisions of Fed. R. Civ. P. 23(c)(4) to certify particular claims, issues, or

  common questions of law or of fact for class-wide adjudication; certify and adjudicate bellwether

  class claims; and utilize Fed. R. Civ. P. 23(c)(5) to divide any Class into subclasses.

                                              VI.     CLAIMS

                                              COUNT I
                       DECLARATORY JUDGMENT, 28 U.S.C. §§ 2201 and 2202
                          On behalf of the Plaintiffs and the Class Members


            72.       Plaintiffs incorporate by reference paragraphs 1 – 71 as though fully set forth

  herein.

            73.       Under 28 U.S.C. §§ 2201 and 2202, this Court may declare the rights and other

  legal relations of the parties in dispute whether or not further relief is or could be sought.

            74.       An actual and bona-fide controversy exists between the Plaintiffs, the Class

  members and the Underwriter Defendants as to the rights and obligations under the policy

  coverage for business income loss in that:

                         a. Plaintiffs and the Class members were forced to close their premises or

                             substantially reduce their business due to the measures put in place by civil




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                          authorities to stop the spread of COVID-19, specifically through human to

                          human and surface to human contact;

                      b. Plaintiffs contend that these measures trigger coverage under the standard

                          all-risk commercial property insurance policy because the policy does not

                          include an exclusion for a viral pandemic;

                      c. Plaintiffs further contend that the orders from civil authorities to close their

                          premises triggers the “additional coverage” from that same form; and

                      d. Upon information and belief, the Underwriter Defendants deny and dispute

                          that the standard business income loss and extra expense coverage policy

                          provides coverage in this instance.

         75.       Plaintiffs seek a Declaratory Judgment on behalf of themselves and all Class

  members that the standard all-risk commercial property insurance policy provides coverage for

  business income losses and extra expenses because the policy does not contain an exclusion for a

  viral pandemic.

         76.       Plaintiffs also seek a Declaratory Judgment on behalf of themselves and all Class

  members that the forced closures of their premises due to orders from state or local civil authorities

  is a prohibition of access to their premises and covered as defined in the insurance policies.

         77.       Federal Rule of Procedure 57 permits the Court to determine the existence or non-

  existence of any right, duty, power, liability, privilege, or of any fact upon which the parties’ legal

  relations depend.

         78.       The declaration sought with regard to the instant controversy is of a justiciable

  nature, does not amount to an advisory decree, and will settle the controversy between the parties




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  and on behalf of all Class members because of the uniform nature of the Underwriter Defendants’

  insurance policies.

            WHEREFORE Plaintiffs request that this Court enter a Declaratory Judgment declaring

  that the standard all-risk commercial property insurance policy provides coverage for business

  income losses and extra expense losses incurred due to the measures taken by civil authorities to

  present the spread of COVID-19.

                                          COUNT II
                              ANTICIPATORY BREACH OF CONTRACT

            79.       Plaintiffs incorporate by reference paragraphs 1 – 71 as though fully set forth

  herein.

            80.       Plaintiffs and each Class member have standard all-risk commercial property

  insurance policies issued by the Underwriter Defendants.

            81.       Plaintiffs and all similarly situated Class members have performed all their

  obligations as specified by the policy including the payment of all premiums due.

            82.       Plaintiffs and the Class members’ insurance policies all contain standard forms that

  provide coverage for losses to business income and for “extra expenses.”

            83.       The policies provide that the Underwriter Defendants will pay for the actual loss of

  business income due the “suspension” of “operations.”

            84.       The policies also provide that the Underwriter Defendants will pay for any

  necessary expenses that Plaintiffs and the Class members incur that they would not have incurred

  had there been no physical loss of their property.

            85.       Plaintiffs’ and the Class members’ standard all-risk commercial property insurance

  policies further provide coverage for suspension of business operations due to closures caused by

  the action of civil authorities.


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         86.       As stated above, Plaintiffs and Class members were forced to close their premises

  to the public and cease or substantially reduce their operations due to the measures put in place by

  civil authorities to stop the spread of COVID-19 through human to human and surface to human

  transmission.

         87.       Upon information and belief, the Underwriter Defendants intend to refuse

  performance under the insurance policies. Specifically, the Underwriter Defendants intend to deny

  or refuse to provide coverage for business income losses or extra expenses incurred due to the

  measures put in place by civil authorities to stop the spread of COVID-19.

         88.       As a result of the Underwriter Defendants’ repudiation or anticipatory breach of the

  insurance policies, Plaintiffs and the Class members have suffered actual damages.

         WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated Class

  members seek compensatory damages resulting from the Underwriter Defendants’ repudiation or

  anticipatory breach of contract and further seek all relief deemed appropriate by this Court,

  including attorneys’ fees and costs.

                                         PRAYER FOR RELIEF


         WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated individuals,

  demand judgment against the Defendants as follows:

         (1)       Declaring this action to be a proper class action maintainable pursuant to Rule 23(a)

  and Rule 23(b)(3) of the Federal Rules of Civil Procedure and declaring Plaintiffs and their counsel

  to be representatives of the Class;

         (2)       Issuing a Declaratory Judgment declaring the Parties’ rights and obligations under

  the insurance policies;




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         (3)       Awarding Plaintiffs and the Class compensatory damages from the Underwriter

  Defendants’ anticipatory breach of the insurance policies in an amount to be determined at trial,

  together with appropriate prejudgment interest at the maximum rate allowable by law;

         (4)       Awarding Plaintiffs and the Class costs and disbursements and reasonable

  allowances for the fees of Plaintiffs’ and the Class’s counsel and experts, and reimbursement of

  expenses; and

         (5)       Awarding such other and further relief the Court deems just, proper, and equitable.

                                   DEMAND FOR A JURY TRIAL

         Plaintiffs and the Class request a jury trial for any and all Counts for which a trial by jury

  is permitted by law.

  Respectfully submitted this 9th day of April, 2020.

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